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                      IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF UTAH

  UNITED STATES OF AMERICA,                    Case No. 2:21-CR-00460-DBB

         Plaintiff,                            STATEMENT BY DEFENDANT IN
                                               ADVANCE OF PLEA OF GUILTY
         vs.                                   AND PLEA AGREEMENT PURSUANT
                                               TO FED. R. CRIM. P. ll(c)(l)(C)
  MICHAEL THAD STRADER,

         Defendant.                            Judge David Barlow


        I hereby acknowledge and certify that I have been advised of and that I understand
the following facts and rights, and that I have had the assistance of counsel in reviewing,
explaining, and entering into this agreement:

       1.      As part of this agreement with the United States of America ("United
States"), I intend to plead guilty to Count 1 of the Indictment. My attorney has explained
the nature of the charge against me, and I have had an opportunity to discuss the nature of
the charge with my attorney. I understand the charge and what the United States is
required to prove in order to convict me. The elements of Count 1, Conspiracy to
Distribute Methamphetamine, are:

       First, the defendant did knowingly and intentionally combine, conspire,
       confederate, and agree with others known and unknown

       Second, to distribute a mixture and substance containing a detectable amount of a
       controlled substance;

       Third, the substance was in fact Methamphetamine, a Schedule II controlled
       substance;
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I    •




             Fourth, the amount of the controlled substance the defendant knowingly and
             intentionally conspired to distribute was five hundred grams (500) grams or more;
             and

             Fifth, there was an interdependence between me and my co-conspirators in that I
             knew the essential objective of the conspiracy and worked with others for our
             mutual benefit.

            2.     I know that the maximum possible penalty provided by law for Count 1 of
    the Indictment, a violation of21 U.S.C. §§ 841(a)(l) and 846, is a term of imprisonment
    of Life, a mandatory minimum sentence often (10) years, a fine often million dollars
    ($10,000,000), a term of supervised release of five (5) years, and any applicable
    forfeiture. I understand that if I violate a term or condition of supervised release, I can be
    returned to prison for the length of time provided in 18 U.S.C. § 3583(e)(3).

             a. Additionally, I know the Court is required to impose an assessment in the
    amount of $100 for each offense of conviction, pursuant to 18 U.S.C. § 3013.

                b. I understand that, if I am not a United States citizen, I may be removed
    from the United States, denied citizenship, and denied admission to the United States in
    the future.

            3.     I know that the sentencing procedures in this case and the ultimate sentence
    will be determined pursuant to 18 U.S.C. § 3553(a), and that the Court must consider, but
    is not bound by, the United States Sentencing Guidelines, in determining my sentence. I
    have discussed these procedures with my attorney. I also know that the final calculation
    of my sentence by the Court may differ from any calculation the United States, my
    attorney, or I may have made, and I will not be able to withdraw my plea if this occurs.
    However, because my plea of guilty is being entered pursuant to Rule 11 ( c)( 1)( C), as
    explained below, I know that I will be able to withdraw my plea if the Court does not
    accept the terms of this agreement.

           4.     I know that I can be represented by an attorney at every stage of the
    proceeding, and I know that if I cannot afford an attorney, one will be appointed to
    represent me.

          5.     I know that I have a right to plead "Not Guilty" or maintain my earlier plea
    of "Not Guilty" and can have a trial on the charges against me.




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       6.        I know that I have a right to a trial by jury, and I know that if I stand trial
by ajury:

              a. I have a right to the assistance of counsel at every stage of the proceeding.

              b. I have a right to see and observe the witnesses who testify against me.

              c. My attorney can cross-examine all witnesses who testify against me.

           d. I can call witnesses to testify at trial, and I can obtain subpoenas to require
the attendance and testimony of those witnesses. IfI cannot afford to pay for the
appearance of a witness and mileage fees, the United States will pay them.

              e. I cannot be forced to incriminate myself, and I do not have to testify at any
trial.

         f. IfI do not want to testify, the jury will be told that no inference adverse to
me may be drawn from my election not to testify.

          g. The United States must prove each and every element of the offense
charged against me beyond a reasonable doubt.

              h. It requires a unanimous verdict of a jury to convict me.

          i. If I were to be convicted, I could appeal, and if I could not afford to appeal,
the United States would pay the costs of the appeal, including the services of appointed
counsel.

         7.      If I plead guilty, I will not have a trial of any kind.

        8.    I know that 18 U.S.C. § 3742(c)(l) sets forth the circumstances under
which I may appeal my sentence. However, fully understanding my right to appeal my
sentence, and in consideration of the concessions and/or commitments made by the
United States in this plea, agreement, I knowin_gly, voluntarily and expressly waive my
right to appeal as set forth in paragraph 12 below.

       9.    I know that, under 18 U.S.C. § 3742(c)(2), the United States may only
appeal my sentence if it is less than the sentence set forth in this agreement.

       10.    I know that under a plea of guilty the judge may ask me questions under
oath about the offense. The questions, if asked on the record and in the presence of
counsel, must be answered truthfully and, if I give false answers, I can be prosecuted for
perJury.

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      11.   I stipulate and agree that the following facts accurately describe my
conduct. These facts provide a basis for the Court to accept my guilty plea:

      Beginning not later than November 1, 2020, and continuing at least through
      August 2, 2021, in the District of Utah and elsewhere, I did knowingly and
      intentionally combine, conspire, confederate, and agree with Justin Jensen, Mario
      Escorcia-Martinez, Alicia Strader, and Brian Nerdin, to distribute five hundred
      (500) grams or more of a mixture and substance containing a detectable amount of
      Methamphetamine, a Schedule II controlled substance within the meaning of21
      U.S.C. § 812; all in violation of21 U.S.C. §§ 841(a)(l) and 846. I knew the
      essential objective of the conspiracy, to make money by selling drugs, and I
      worked with others for our mutual benefit.

      12.   The only terms and conditions pertaining to this plea agreement between
me and the United States are as follows:

          a. Guilty Plea. I will plead guilty to Count 1 of the Indictment.

           b. Stipulated Sentence. Pursuant to Rule 1 l(c)(l)(C) of the Federal Rules of
Criminal Procedure, the sentence imposed by the Court will be one hundred and forty-
four ( 144) months' imprisonment, which I agree is a reasonable sentence.

              ( 1)   I understand that this agreement, including my plea, the agreed upon
sentence, and all other terms referenced herein, are subject to the approval of, and
acceptance by the Court. I further understand that the Court will likely order the
preparation of a Presentence Report to assist in the determination of whether this plea and
the agreement are appropriate, and I agree to fully cooperate in the preparation of the
Presentence Report.

               (2)   If, after receiving all relevant information, the Court rejects the plea
agreement and determines that a sentence longer than the agreed upon sentence of one
hundred and forty-four (144) months' imprisonment will be imposed, I will have the right
to withdraw the plea of guilty and the terms of this agreement will become null and void.
Likewise, if the Court rejects the plea agreement and determines that the sentence should
be less than one hundred and forty-four (144) months' imprisonment, I understand that
the United States will have the right to move to vacate this agreement, and all terms of
this agreement will become null and void.

         c. Dismissal of Counts. The United States agrees to move for leave to
dismiss Count 2 at the time of sentencing.



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           d. Relevant Conduct. I understand and agree that the Presentence Report
may include descriptions of conduct I engaged in which either was not charged against
me, will not be pleaded to by me, or both. I understand and agree that the Court will take
these facts into consideration in determining the reasonableness of the stipulated
sentence.

          e. Appeal Waiver.

                (1)    Fully understanding my limited right to appeal my sentence, as
explained above in paragraph 8, and in consideration of the concessions and/or
commitments made by the United States in this plea agreement, I knowingly, voluntarily,
and expressly waive my right to appeal any sentence imposed upon me, except that I do
not waive the right to appeal as set forth in 18 U.S.C. § 3742(c)(l), which states that I
may not file a notice of appeal unless the sentence imposed is greater than the sentence
set forth in this agreement. I also knowingly, voluntarily, and expressly waive any
argument (1) that the statute(s) to which I am pleading guilty is/are unconstitutional or (2)
that my admitted conduct does not fall within the scope of the statute(s).

              (2)     I also knowingly, voluntarily, and expressly waive my right to
challenge my sentence, unless the sentence imposed is greater than the sentence set forth
in this agreement, and my conviction, in any collateral review motion, writ or other
procedure, including but not limited to a motion brought under 28 U.S.C. § 2255, except
on the issue of ineffective assistance of counsel. This waiver includes any motion for
modification ofmy sentence under 18 U.S.C. § 3582(c)(2).

              (3)   I understand that this waiver of my appeal and collateral review
rights concerning my sentence shall not affect the United States' right to appeal my
sentence pursuant to 18 U.S.C. § 3742(c)(2) and§ 3742(b)(l) and (2).

              (4)    I further understand and agree that the word "sentence" appearing
throughout this waiver provision is being used broadly and applies to all aspects of the
Court's sentencing authority, including, but not limited to: (1) sentencing determinations;
(2) the imposition of imprisonment, fines, supervised release, probation, and any specific
terms and conditions thereof; and (3) any orders of restitution.

               ( 5)  Additionally, I waive all rights to appeal any issues regarding my
right to presence and the validity of my remote appearance for this and any other hearings
held in this matter.

           f. Presentence Report and Financial Information. I agree to provide
truthful and complete information, including financial information, as requested by the
probation office for the preparation of my presentence report and for determination of the
conditions of my supervised release. I also consent to allowing the United States
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Attorney's Office to run a credit check on me. I consent to being placed on the Treasury
Offset Program and State Finder.

           g. Forfeiture.

               (1)    I agree to forfeit all property acquired from or traceable to my
offense[s] and all property that was used to facilitate my offense[s], including, but not
limited to, the following specific property:

       $5,400 in U.S. Currency

               (2)   I acknowledge that all property covered by this agreement is subject
to forfeiture because it represents the proceeds of illegal conduct or helped facilitate
illegal conduct.

            , (3)     I agree that all such property may be forfeited in either an
administrative, civil and/or criminal judicial proceeding. I agree that I will not make a
claim to the property or otherwise oppose forfeiture in any such proceedings, and I will
not help anyone else do so. IfI have already made such a claim, I hereby withdraw it. I
further agree that I will sign any necessary documents to ensure that clear title to the
forfeited assets passes to the United States, and that I will testify truthfully in any judicial
forfeiture proceeding. In addition, I agree that I will not make any claim to property
forfeited by any other defendant in this case.

              (4)    I hereby waive any claims I may have against the United States
regarding the seizure and forfeiture of the property covered by this agreement.

               ( 5)    I hereby waive the requirements regarding notice of the forfeiture in
the charging instrument, announcement of the forfeiture at sentencing, and incorporation
of the forfeiture in the judgment.

              (6)    I hereby waive any constitutional or statutory challenges to the
forfeiture covered by this agreement, including that the forfeiture is an excessive fine or
punishment.

        13.     I understand and agree that this plea agreement is solely between me and
the United States Attorney for the District of Utah and does not bind any other federal,
state, or local prosecuting, administrative, or regulatory authorities.

      14.   I understand that I have a right to ask the Court any questions I wish to ask
concerning my rights about these proceedings and the plea.

                                   *     *      *      *

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     I make the following representations to the Court:

    1.   I am     -lJ2f
                   ears of age. My education consists of         _-------1-/-=2'------~--·--
I _ _ _ _ _ [can/cannot] read and understand English.                I
      2.     This Statement in Advance contains all terms of the agreement between me
and the United States; if there are exceptions, the Court will be specifically advised, on
the record, at the time of my guilty plea of the additional terms. I understand the United
States and I cannot have terms of this plea agreement that are not disclosed to the Court.

     3.     No one has made threats, promises, or representations to me that have
caused me to plead guilty, other than the provisions set forth in this agreement.

      4.    Neither my attorney nor the United States has promised me that I would
receive probation or any other form of leniency because of my plea.

      5.    I have discussed this case and this plea with my lawyer as much as I wish,
and I have no additional questions.

     6.     I am satisfied with my lawyer.

      7.     My decision to enter this plea was made after full and careful thought; with
the advice of counsel; and with a full understanding of my rights, the facts and
circumstances of the case and the consequences of the plea. I was not under the
influence of any drugs, medication, or intoxicants when I made the decision to enter the
plea, and I am not now under the influence of any drugs, medication, or intoxicants.

     8.     I have no mental reservations concerning the plea.

      9.     I understand and agree to all of the above. I know that I am free to change
or delete anything contained in this statement. I do not wish to make changes to this
agreement because I agree with the terms and all oft      tatements are correct.

     DATED this ~ • Y of------'oe::........!=-----.1-~=----




                                                   Defendant




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       I certify that I have discussed this plea agreement with the defendant, that I have
fully explained his rights to him, and that I have assisted him in completing this written
agreement. I believe that he is knowingly and voluntarily entering the plea with full
knowledge of his legal rights and that there is a factual basis for the plea.

       DATED this   1        day of    ¥                   ,~

       I represent that all terms of the plea agreement between the defendant and the
United States have been, or will be at the plea hearing, disclosed to the Court, and there
are no undisclosed agreements between the defendant and the United States.

       DATED this     /'?              /4~//i~'/tl_,_ _ _., J.,1-1.
                             day of ____

                                                   TRINA A. HIGGINS
                                                   United States Attorney




                                                   SETH NIELSEN
                                                   Assistant United States Attorney




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